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              IN THE STATE COURT OF CLAYTON COUNTY
                         STATE OF GEORGIA

CAROL RODGERS,                                           Civil Action File No.
                                                         2021CV00049
           Plaintiff,
v.

GERALD ENGLISH AND
VARIETY WHOLESALERS, INC.,

           Defendants.
                            /

                         ANSWER OF DEFENDANTS

     COME      NOW,      Defendants    GERALD       ENGLISH       and   VARIETY

WHOLESALERS, INC. and make this Answer to Plaintiff's Complaint as follows:

                                 FIRST DEFENSE

     Jurisdiction is not proper as to Gerald English.

                                SECOND DEFENSE

     Venue is not proper as to Gerald English.

                                THIRD DEFENSE

     Jurisdiction is not proper as to Variety Wholesalers, Inc.

                                FOURTH DEFENSE

     Venue is not proper as to Variety Wholesalers, Inc.




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                                 FIFTH DEFENSE

      Plaintiff's claims are barred by insufficiency of service and insufficiency of

process as to Variety Wholesalers, Inc.

                                 SIXTH DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendants upon which

relief can be granted.

                               SEVENTH DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                EIGHTH DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety, and by the

exercise of ordinary care could have avoided any injury to herself; and on account

thereof, Plaintiff is not entitled to recover from Defendants.

                                 NINTH DEFENSE

      Defendants deny that they were negligent in any manner whatsoever or that

any negligent act or omission on their part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                 TENTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby



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barred from recovering against Defendants.

                               ELEVENTH DEFENSE

      Plaintiff’s claim for punitive damages is barred as a matter of law.

                               TWELFTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendant in this case, to the Constitution of the

United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes allow for the deprivation of property without due process

of law. (U.S. Const. amends V and XIV; Ga. Const. Art. 1, Section 1, Para. 1).

Specifically, said statutes fail to define or provide advance notice of the prohibited

behavior with reasonable clarity, fail to specify the upper limit of damages to be

imposed, fail to set standards or criteria for the jury to apply in determining whether

to impose punitive damages and, if so, the amount thereof. These defects in the

statutes, inter alia, leave to the unbridled discretion of a random jury whether to

impose such damages and the amount thereof, thereby authorizing an award of

aggravated, exemplary, or punitive damages which is unpredictable, arbitrary,

capricious, and disproportionate.




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                          THIRTEENTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendant in this case, to the Constitution of the

United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes deny this Defendant equal protection of the laws by

providing fewer protections for civil litigants than the criminal laws provide to

persons accused of violation of criminal statutes which provide for the imposition

of monetary fines. (U.S. Const. Amend. XIV, Ga. Const. Art. 1, Section 1, Para. 2).

Specifically, said statutes inter alia, fail to define or provide advance notice of the

prohibited behavior with reasonably clarity whereas criminal defendants are

entitled to such notice; said statutes fail to specify the upper limit of damages to be

imposed whereas criminal statutes imposing similar penalties must be limited; said

statutes allow imposition of such damages upon the "preponderance of the

evidence" rather than the "beyond a reasonable doubt" standard applied in similar

criminal cases; and said statutes contemplate the imposition of such damages

against civil litigants who have been compelled to give evidence against themselves

under the Georgia Civil Practice Act whereas criminal defendants in similar cases

cannot be so compelled.



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                            FOURTEENTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendant in this case, to the Constitution of the

United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes allow for the imposition of an excessive fine. (U.S. Const.

Amend. VIII and XIV; Ga. Const. Art. 1, Section 1, Para. 1.)

                              FIFTEENTH DEFENSE

      The statutes of the State of Georgia which authorize the imposition of

aggravated, exemplary, or punitive damages are contrary, by their express terms

and as they may be applied to the Defendant in this case, to the Constitution of the

United States of America, and the Georgia Constitution and are, therefore, void

inasmuch as said statutes do not provide fair notice of (1) the severity of the

potential punishment in relationship to the alleged degree of reprehensible conduct

of Defendant, (2) the ratio of punitive damages award to the actual harm inflicted

upon the Plaintiff, and (3) a comparison between the award and the civil or criminal

penalties that could be imposed for comparable alleged misconduct. See BMW of

North America, Inc. v. Gore, 116 U.S. 415, 133 L.Ed.2d 333, 115 S.Ct. 932 (1966);

BMW of North America, Inc. v. Gore, 116 S.Ct. 1589 (1996); and Pacific Mutual Life



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Ins. Co. v. Haslip, 499 U.S. 1, 113 L.Ed.2d 1, 111 S.Ct. 1032 (1991).



                               SIXTEENTH DEFENSE

      Defendants respond to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                          1.

      Defendants deny the allegations contained in paragraph 1 of the Plaintiff's

Complaint.

                                          2.

      Defendants deny the allegations contained in paragraph 2 of the Plaintiff's

Complaint.

                                          3.

      Defendants deny the allegations contained in paragraph 3 of the Plaintiff's

Complaint, as stated. Variety Wholesalers, Inc. is classified as a contract carrier of

property.


                                          4.

      Defendants deny the allegations contained in paragraph 4 of the Plaintiff's

Complaint.




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                                         5.

      Defendants admit the allegations contained in paragraph 5 of the Plaintiff's

Complaint.

                                         6.

      Defendants deny the allegations contained in paragraph 6 of the Plaintiff's

Complaint, as stated. Variety Wholesalers, Inc. is classified as a contract carrier

of property.

                                         7.

      Defendants deny the allegations contained in paragraph 7 of the Plaintiff's

Complaint, as stated.

                                         8.

      Defendants deny the allegations contained in paragraph 8 of the Plaintiff's

Complaint. Jurisdiction and venue are now proper in the United States District

Court, Northern District of Georgia, Atlanta Division.

                                         9.

      Defendants deny the allegations contained in paragraph 9 of the Plaintiff's

Complaint.

                                         10.

      Defendants deny the allegations contained in paragraph 10 of Plaintiff's



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Complaint.

                                        11.

       Defendants deny the allegations contained in paragraph 11 of the Plaintiff's

Complaint.

                                        12.

       Defendants deny the allegations contained in paragraph 12 of the Plaintiff's

Complaint.

                                        13.

       Defendants deny the allegations contained in paragraph 13 of the Plaintiff's

Complaint.

                                        14.

       Defendants deny the allegations contained in paragraph 14 of the Plaintiff's

Complaint.

                                        15.

       Defendants incorporate each of the preceding paragraphs of this Answer as

if fully set forth herein.

                                        16.

       Defendants deny the allegations contained in paragraph 16 of the Plaintiff's

Complaint, as stated.



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                                        17.

       Defendants deny the allegations contained in paragraph 17 of the Plaintiff's

Complaint, including subparagraphs a.), b.), c.) and d.) thereof.

                                        18.

       Defendants incorporate each of the preceding paragraphs of this Answer as

if fully set forth herein.

                                        19.

       Defendants deny the allegations contained in paragraph 19 of the Plaintiff's

Complaint, as stated.

                                        20.

       Defendants deny the allegations contained in paragraph 20 of the Plaintiff's

Complaint, as stated. The applicable case law speaks for itself.

                                        21.

       Defendants deny the allegations contained in paragraph 21 of the Plaintiff's

Complaint.

                                        22.

       Defendants deny the allegations contained in paragraph 22 of the Plaintiff's

Complaint, including subparagraphs a.), b.), c.) and d.) thereof.




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                                        23.

       Defendants deny the allegations contained in paragraph 23 of the Plaintiff's

Complaint.

                                        24.

       Defendants incorporate each of the preceding paragraphs of this Answer as

if fully set forth herein.

                                        25.

       Defendants admit the allegations contained in paragraph 25 of the Plaintiff's

Complaint, as to the date of the alleged incident.

                                        26.

       Defendants deny the allegations contained in paragraph 26 of the Plaintiff's

Complaint.

                                        27.

       Defendants deny the allegations contained in paragraph 27 of the Plaintiff's

Complaint.

                                        28.

       Defendants incorporate each of the preceding paragraphs of this Answer as

if fully set forth herein.




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                                         29.

       Defendants deny the allegations contained in paragraph 29 of the Plaintiff's

Complaint.

                                         30.

       Defendants deny the allegations contained in paragraph 30 of the Plaintiff's

Complaint.

                                         31.

       Defendants incorporate each of the preceding paragraphs of this Answer as

if fully set forth herein.

                                         32.

       Defendants deny the allegations contained in paragraph 32 of the Plaintiff's

Complaint.

                                         33.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         34.

       Defendants deny Plaintiff's prayer for relief, including subparagraphs A., B.,

C., D., and E. thereof.

       WHEREFORE, Defendants pray that Plaintiff's Complaint be dismissed with



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all costs cast upon the Plaintiff. DEFENDANTS DEMAND TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.



                                  McLAIN & MERRITT, P.C.



                                  /s/ Howard M. Lessinger
                                  Howard M. Lessinger
                                  Georgia Bar No. 447088



                                   /s/ Albert J. DeCusati
                                  Albert J. DeCusati
                                  Georgia Bar No. 215610
                                  Attorneys for Defendants
                                  GERALD ENGLISH
                                  VARIETY WHOLESALERS, INC.


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                          CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT GERALD ENGLISH AND VARIETY WHOLESALERS, INC. has this

day been filed and served upon opposing counsel via Odyssey eFileGA.

     This the   5th   day of February, 2021.

                                     McLAIN & MERRITT, P.C.



                                     /s/ Howard M. Lessinger
                                     Howard M. Lessinger
                                     Georgia Bar No. 447088
                                     Attorney for Defendants
                                     GERALD ENGLISH
                                     VARIETY WHOLESALERS, INC.

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